In this action for services rendered by plaintiff as an architect to the owner of certain property, who contemplated erecting a building thereon, plaintiff had judgment, from which defendant appeals upon two grounds: First, that the evidence on behalf of plaintiff was so inherently improbable as to amount to no evidence at all; and, second, that there were certain errors in the instructions given by the court to the jury.
We do not consider it necessary to review the facts of the case. We have carefully examined the transcript, and conclude that the verdict of the jury was amply warranted by the evidence.
We are also satisfied that the instructions given by the court correctly stated the law applicable to the case, and that there was no error in the refusal of certain instructions and the modification of others requested by the defendant.
Judgment affirmed. *Page 285 